           Case 2:05-cr-00152-RSL          Document 44        Filed 04/25/05      Page 1 of 2




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07                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
08                                      AT SEATTLE

09 UNITED STATES OF AMERICA,              )
                                          )
10         Plaintiff,                     )
                                          )             Case No.: CR05-0152
11         v.                             )
                                          )
12   THANG VAN NGUYEN,                    )             DETENTION ORDER
                                          )
13         Defendant.                     )
     ____________________________________ )
14
     Offense charged:
15
            Counts 1 through 44: Bank Fraud (18 U.S.C. § 20).
16
     Date of Detention Hearing:    April 21, 2005
17
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
18
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds
19
     that no condition or combination of conditions which defendant can meet will reasonably assure
20
     the appearance of defendant as required and the safety of other persons and the community.
21
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
22
            (1)     Defendant was arrested on March 24, 2005, in the Central District of California,
23
     on an indictment warrant from the Western District of Washington. At that time, defendant was
24
     interviewed by Pretrial Services and a report was prepared on March 24, 2005. In that Report,
25
     several criminal violations were found. Defendant did not interview with Pretrial Services of the
26

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
     PAGE 1
          Case 2:05-cr-00152-RSL          Document 44        Filed 04/25/05      Page 2 of 2




01 Western District of Washington, which was therefore unable to make recommendations regarding

02 safety or assurance of return.

03          (2)    Defendant has stipulated to detention but, reserved the right subsequently to

04 challenge detention in the Western District of Washington should circumstances change or new

05 issues arise.

06          (3)    There appear to be no conditions or combination of conditions that will reasonably

07 assure the defendant’s appearance at future Court hearings and that will address the danger to

08 other persons or the community.

09          IT IS THEREFORE ORDERED:

10          (1)    Defendant shall be detained pending trial and committed to the custody of the

11                 Attorney General for confinement in a correction facility separate, to the extent

12                 practicable, from persons awaiting or serving sentences or being held in custody

13                 pending appeal;

14          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

15                 counsel;

16          (3)    On order of a court of the United States or on request of an attorney for the

17                 government, the person in charge of the corrections facility in which defendant is

18                 confined shall deliver the defendant to a United States Marshal for the purpose of

19                 an appearance in connection with a court proceeding; and

20          (4)    The Clerk shall direct copies of this Order to counsel for the United States, to

21                 counsel for the defendant, to the United States Marshal, and to the United States

22                 Pretrial Services Officer.

23
                   DATED this 25th day of April, 2005.
24

25
                                                  /s/ JAMES P. DONOHUE
26                                                United States Magistrate Judge

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
     PAGE 2
